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UNITED sTATEs I)ISTRICT CoURT FH£D sav m§`§; mg
WESTERN DIsTRICT ‘ '
at Memphis 05 JUL l l PH 2: 25
CHESTINE L. MoNTGoMERY, ) THOM$
) ERK, U.]S. ~UPV`I
Plaimiff, ) W’D f»F-Yi-. S»PH,S
)
v ) Case No. 03-2948
) JURY DEMAND
)
STATE of TENNESSEE, )
)
Defendant. )
oRDER GRANTING JoINT

MOTION FOR EXTENSI()N OF TIME TO FILE
DISPOSITIVE MOTIONS

 

Pursuant to F ederal Rule of Civil Procedure 6(b)(l), Defendant, by and through the Offlce
of the Attorney General and Reporter for Tennessee, as well as Plaintiff, by and through her counsel
of record, have moved that the Court grant an extension of time for the filing of dispositive motions,
which under the current Scheduling Plan (entered October 18, 2004) are due July 18, 2005. The
parties request that the due date for filing of dispositive motions be extended until July 26, 2005.

lt appearing to the Court that the parties are in agreement in this matter, the due date for

dispositive motions shall be extended to July 26, 2005.
A]l other dates Within the Scheduling Order sha emain the same.
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IT ls SO 0RDERED this l day of l ,2005.

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United States M&gi'strat-e Judge
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Respectfully submitted,

PAUL G. SUMMERS
ATTORNEY GENERAL AND REPORTER

JOW, No. 16653

Assi ttorney General

Civil Litigation and State Services Division
P.O. Box 20207

Nashville, Tennessee 37202
615-741-8062

 

CERTIFICATE OF SERVICE

l hereby certify that a true and exact copy of the foregoing ORDER GRANTING JOINT

MOTION FOR EXTENSION OF TIME TO FILE DISPOSITIVE MOTIONS has been served by

placing the same in the U.S. Mail, OVERNIGHT DELIVERY, addressed to:

Ms. Kaye G. Burson
Rutledge & Rutledge
Attorneys at LaW

1053 W. Rex Road, Suite 101
Memphis, TN 38119

, 2005.

 

this the g day of %,L.»F

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:03-CV-02948 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

ESSEE

 

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Honorable .l. Breen
US DISTRICT COURT

